       Case 3:21-cr-00685-WQH Document 32 Filed 11/08/21 PageID.72 Page 1 of 1



1
                                UNITED STATES DISTRICT COURT
2

3                         SOUTHERN DISTRICT OF CALIFORNIA
4
                           (HONORABLE WILLIAM Q. HAYES)
5

6    UNITED STATES OF AMERICA,                   Case No.21CR 0685-WQH
7                  Plaintiff,
8                                                ORDER
        v.
9

10   MAYRA PARTIDA DE HERRERA,
11
                   Defendant.
12

13

14
     IT IS HEREBY ORDERED that Ms. Partida de Herrera’s Trial Date currently
15   scheduled for December 14, 2021 at 9:00 a.m., be rescheduled to
16
     February 1, 2022 at 9:00 a.m.
17

18
             For reasons stated in the joint motion, incorporated by reference herein, the
19
     court finds the ends of justice served by granting the requested continuance
20
     outweigh the best interest of the public and the defendant in a speedy trial.
21
             IT IS FURTHER ORDERED that the period of delay from the filing of the
22
     joint motion until February 1, 2022 shall be excluded in computing the time within
23
     which the trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161.
24
          SO ORDERED.
25
     Dated: November 8, 2021
26

27

28
